                         THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 EASTERN DIVISION
                                  No. 4:08-CV-32-F

PAULINE W. ALEXANDER,                             )
                                                  )
                    Plaintiff,                    )
                                                  )
          v.                                      )      ORDER
                                                  )
QVC DISTRIBUTION CENTER, P.O.C                    )
BILL STANULIS, PLANT MANAGER,                     )
                                                  )
                    Defendants.                   )

          This matter is before the court upon motion by Defendant QVC Distribution

Center for summary judgment against Plaintiff Pauline Alexander's claims that she has

been discriminated against in her employment on the basis of a disability in violation of

the Americans with Disabilities Act ("ADA"), 42 U.S.C. § 12101 et seq., and

discriminated/retaliated against in violation of the Family Medical Leave Act ("FMLA"),

29 U.S.C. § 2901 et seq. The motion has been fully briefed and is therefore ripe for

ruling.

                                  I. STATEMENT OF THE CASE

          On February 25, 2008, Plaintiff Pauline Alexander ("Alexander"), proceeding pro

se, filed a motion to proceed in forma pauperis and complaint against her former

employer QVC Rocky Mount, Inc. ' ("QVCRM") and QVCRM Plant Manager Bill

Stanulis ("Stanulis"). Plaintiff appears to claim that her employment was terminated

because she was diagnosed with breast cancer and was discharged on the basis of her

disability in violation of the ADA; or, alternatively, Defendant did not provide her with a



          I   Plaintiff has incorrectly identified her employer as "QVC Distribution Center."


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reasonable accommodation for her disability.2 Compl.~~ 5, 6, 9 [DE-5]. Plaintiff also

asserts now, in the most recent briefing before the court, a claim for discrimination

and/or retaliation under the FMLA.

        Plaintiffs motion to proceed in forma pauperis was allowed and her complaint

was served on QVCRM and Stanulis. On March 31, 2008, QVCRM answered the

complaint denying liability and asserting various defenses. Stanulis filed a motion to

dismiss in lieu of an answer pursuant to Federal Rule of Civil Procedure 12(b)(6) and, in

an Order [DE-25] filed on July 1, 2008, this court dismissed all claims against Stanulis.

On January 2, 2009, QVCRM filed a motion for summary judgment [DE-26] as to

Plaintiffs claims. Plaintiff subsequently retained counsel who filed a response [DE-30]

in opposition to QVCRM's motion. QVCRM filed its reply [DE-31] on February 10,

2009.

                             II. STATEMENT OF FACTS

A. QVCRM

        QVCRM operates a merchandise distribution center located in Rocky Mount,

North Carolina for QVC, Inc. ("QVC"). QVC sells merchandise through its twenty-four

hour television shopping programs and intemet website. Decl. of Gail Townsend [DE­



        2 Plaintiffs complaint [DE-5] is of a "fill-in-the blank" format typically used by
pro se plaintiffs alleging employment discrimination claim arising under Title VII. The
form complaint contains several type-written "boiler-plate" allegations that this suit
arises under Title VII. Id. Plaintiffs own handwritten allegations, make clear, however,
that she makes no Title VII claims. !d. Moreover, no party has briefed Title VII issues,
nor do any such allegations appear in the discovery that has been provided to the court.
Finally, any such claims would be beyond the scope of the Equal Employment
Opportunity Commission charge documentation attached to the Complaint [DE-5], which
contains only an ADA charge.

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27-3] ,-r 2. The QVCRM distribution center has been operating since August 2000. Id.

B. Distribution Specialist/Packer Position

       Plaintiff began her employment with QVCRM on August 14, 2000, as a

Distribution Specialist, or "Packer," a position she held throughout her employment.

Alexander Dep. [DE-27-5] p.18. A Packer is responsible for preparing merchandise for

shipment by placing items from a conveyor belt into parcel boxes. Decl. of Gail

Townsend [DE-27-3] ,-r3; Alexander Dep. [DE-27-5] pp. 22-23. The job description

states the functions of the position include loading products and packages into shipping

trailers, placing labels on shipping boxes, filling boxes with insulation, and being able to

lift and move materials weighing up to 70 pounds. Alexander Dep. [DE-27-5] pp. 22-23;

Decl. of Gail Townsend ,-r3, Ex. B [DE-27-3].

       Plaintiff, indeed, testified that when she was hired, she was told that the job

would require her to sometimes lift up to 70 pounds. Alexander Dep. [DE-27-5] p.18.

Plaintiff contends, however, that merchandise weighing 70 pounds was never lifted

manually; rather, these items remained on the conveyor and were lifted by a pallet jack or

cherry picker. Alexander Dep. [DE-27-5] pp.19, 21. The heaviest item which Plaintiff

recalls lifting weighed 48 pounds. Id. at pp. 19-20. Plaintiff maintains that

approximately 70% of the items she was required to lift weighed less than 20 pounds, and

some products weighed 30-50 pounds. Alexander Dep. [DE-27-5, DE-27-6, DE-27-7] at

pp. 23, 71-72, Ex. 12.

C. QVCRM's Leave Policy

       QVCRM has a medical leave policy that allows for a "medical leave of absence

of up to 182 days to eligible employees who are totally or partially disabled from their

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regular occupation due to non-job related illness (including pregnancy) or accidental

injury." Townsend Decl. [DE-27-3] ~4, Ex. C. The policy operates in coordination with

QVCRM's family leave medical policy. Id. at Ex. D. The medical policy provides that

in order for an employee to return to work, an employee returning to work must provide a

fitness-for-duty certification completed by the employee's treating physician. Id. at Ex.

C. Under the policy, no leave of absence may extend beyond 182 days and employment

will be terminated if an employee fails to return to work after 182 days. Id. The policy

provides further that" [f]or purposes of calculating the 182 day period, a leave [of

absence] is treated as a part ofa previous leave [period], unless the employee works [a]

regular schedule for fourteen consecutive days." Id.

D. Plaintiffs leaves of absence

       On May 17,2005, Plaintiff requested a medical leave of absence commencing

May 18,2005, in order to undergo a biopsy of her breast. Alexander Dep. [DE-27-5, DE­

27-7] p. 32, Ex. I. Initially, Plaintiffwas scheduled to be out of work on leave from May

18,2005, to May 24, 2005, and was expected to return to work May 25, 2005. Alexander

Dep. [DE-27-7] Ex. 1; Townsend Dec!. [DE-27-3]~5, Ex. E. Her leave of absence was

extended, however, several times, and ultimately, Plaintiff was released by her treating

physician to return to work on October 17, 2005, with a restriction that she could not lift

items over 30 pounds for a period of two weeks. Alexander Dep. [DE-27-5, DE-27-7]

pp. 36,44, Ex. 3; Townsend Dec!. [DE-27-3] ~ 5, Ex. F. QVCRM contends that it

accommodated Plaintiffs restrictions for those two weeks, then she worked without

restriction until April 2006. Dep. of Alexander [DE-27-5] p. 45.

       In April of 2006, Plaintiff spoke to Gail Townsend, the Benefits Coordinator for

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QVCRM, about her restrictions. Apparently as a result of that conversation, Plaintiffs

treating physician, Dr. Martha Chesnutt, provided a note to QVCRM on April 13, 2006,

stating: "Ms. Alexander has had a breast mastectomy and cannot perform prolonged

activities over her head. She cannot load trucks." Alexander Dep. [DE-27-5, DE-27-6]

p. 44, ExA. Townsend told Plaintiff she need clarification regarding the duration of the

restriction. Dr. Chesnutt then faxed another note on April 17,2006, stating that Plaintiff

could not perform "prolonged lifting over the head for lifelong due to her surgery and

related pain." Alexander Dep. [DE-27-6, DE-27-7] p. 46, Ex.5. QVCRM accommodated

the restriction by removing Plaintiff from the requirement of rotating through the

shipping area to load trucks effective April 19, 2006. Townsend Dec!. [DE-27-3] ~ 7.

        Plaintiff contends that later in 2006, her physician notified QVCRM about

another restriction. She submits the declaration of her treating physician, Dr. Chesnutt,

wherein she avers that she sent a note, dated November 13,2006, via fax to Townsend

stating that Plaintiff had a 20-pound lifting restriction. Chesnutt Decl. [DE-30-2] ~ 5; Ex.

22. Dr. Chesnutt also averred that in response to a phone call from Plaintiff, she faxed

another note dated November 14,2006, informing Townsend that the 20-pound lifting

restriction was for Plaintiffs "lifetime." Id.   ~ 6, Ex. 23.   QVCRM suggests that it did

not have notice of this restriction until much later, and highlights that the note attached to

Dr. Chesnutt's declaration is stamped "received" by QVCRM on August 15,2007.

Plaintiff, however, contends that QVCRM was aware of Dr. Chesnutt's note and

accommodated this restriction from November 2006 until April 2007.

       On March 20,2007, Plaintiff requested intermittent leave, pursuant to the FMLA,

to be off work periodically, as needed, for treatment of her cancer, depression,

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hypercholesterolemia and hypertension. Townsend Decl [DE-27-3] ~ 8. Townsend

faxed Plaintiff's request to Dr. Chesnutt, along with the required medical certification

forms. Townsend Decl. [DE-27-3, DE-27-4] ~ 8, Ex. 1. On March 26, 2007, Dr.

Chesnutt provided the necessary medical certification, and Plaintiff was granted

intermittent FMLA leave to take off, as needed, for her ongoing medial treatment.

Townsend Decl. [DE-27-3, DE-27-4] ~ 8, Ex. K. The medical certification stated that

whether Plaintiff would be unable to perform any essential functions of her job would be

"per surgeon." Id.

       On April 24, 2007, Plaintiff personally gave QVCRM a note from Dr. Chesnutt's

office which states: "Ms. Alexander was seen in our office today. Please follow previous

instructions of no prolonged lifting of something overhead or greater than 20 lbs."

Alexander Dep. [DE-27-6] pp. 50-51; Townsend Decl. ~ 9, Ex. L. In QVCRM's opinion,

the 20-pound lifting restriction-which QVCRM claims it was not aware of until Dr.

Chesnutt's April 24, 2007, note-made it impossible for Plaintiff to perform the essential

functions of the Packer position. QVCRM contends it then placed Plaintiff on a short­

term disability absence because of these restrictions. Townsend Decl. [DE-27-3, DE-27­

4] ~ 9, Ex. M. Plaintiff, however, contends she was out on leave because ofa breast

reduction surgery which was related to her cancer. Alexander Dep. [DE-27-6] pp. 54-55.

       In any event, the parties agree that Plaintiff was on a short-term disability leave of

absence from April 26, 2007 until August 2007. On August 14,2007, Plaintiff's plastic

surgeon, Dr. F.K. Park, faxed QVCRM a "QVC Duty Status and Follow Up" form stating

that Plaintiff would be able to return to work without restriction on August 14,2007.

Townsend Decl. [DE-27-3, DE-27-4] ~ 10, Ex. N. Townsend then called Plaintiff and

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notified her that Dr. Park had released her to return to work without restrictions.

Alexander Dep. [DE-27-6] pp. 56-67. Based on Dr. Park's release, Plaintiff returned to

work at QVCRM on August 15,2007. Alexander Dep. [DE-27-6] p. 58. QVCRM

contends that despite letting Plaintiff return to work, it still needed to seek confirmation

from Dr. Chesnutt that Plaintiff had been released from the work restrictions she had

imposed on Plaintiff. Townsend Decl. [DE-27-3] ~ 10. On August 17,2007, Dr.

Chesnutt faxed a note to QVCRM stating Plaintiff still was under the lifetime restriction

of no lifting of more than 20 pounds. Id., Ex. P.

          Accordingly, on August 18,2007, QVCRM again placed Plaintiff on a medical

leave of absence because it felt she could not perform the essential functions of the

Packer position. Id. QVCRM's Medical Leave policy states that an employee must

return to work for at least 14 consecutive days in order to start a new medical leave

period. Townsend Decl. [DE-27-4], Ex. C. QVCRM maintains that because Plaintiff

had been back at work for two or three days before she was put out of work again, this

medical leave of absence was treated as a continuation of the leave she had been placed

on in April, 2007, for purposes of calculating the maximum 182-day leave of absence

period.

          On September 28,2007, QVCRM sent Plaintiff a letter informing her that if she

was not able to return from leave on or before October 24, 2007, her employment would

be terminated on October 25,2007, because she would have exhausted the full 182-day

maximum leave time. Plaintiff received the letter on October 2,2007.

          Plaintiff was not able to return to work without restriction by October 24, 2007,

and on October 25, 2007, QVCRM terminated her from its payroll. Plaintiff has been

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receiving long term disability benefits under QVCRM's plan.

                                        III. ANALYSIS

          Against the preceding factual background, Plaintiff contends that she was

terminated as result of discrimination under the ADA and/or discrimination or retaliation

under the Family Medical Leave Act. QVCRM moves for summary judgment as to all

claims.

A. Standard of Review

          Summary judgment is appropriate when no genuine issues of material fact exist

and the moving party is entitled to judgment as a matter of law. See Anderson v. Liberty

Lobby, 477 U. S. 242, 247 (1986). The party seeking summary judgment bears the

burden initially of coming forward and demonstrating the absence of a genuine issue of

material fact. See Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). When making the

summary judgment determination, the facts and all reasonable inferences must be viewed

in the light most favorable to the non-movant. Liberty Lobby, 477 U.S. at 255. Once the

moving party has met its burden, the non-moving party then must come forward and

demonstrate that such a fact issue does indeed exist. See Matsushita Elec. Indus. Co. v.

Zenith Radio Corp., 475 U.S. 574,587 (1986). Summary judgment is appropriate against

a party who fails to make a showing sufficient to establish anyone of the essential

elements of the party's claim on which he will bear the burden of proof at trial. See

Celotex, 477 U.S. at 322-23.

B. ADA Claims

          Plaintiff alleges that she was discriminatori1y discharged on the basi s of her

disability, or, alternatively, QVCRM failed to provide her with a reasonable

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accommodation for her disability.

        Title I of the ADA prohibits a covered employer from discriminating against a

"qualified individual with a disability" with regard to his employment. 42 U.S.C. §

12112(a).3 A person is disabled within the meaning of the ADA if she (I) has "a physical

or mental impairment that substantially limits one or more major life activities;" (2) has a

record of such impairment; or (3) has been "regarded as having such an impairment." 42

U.S.c. § 12102(2). In this case, the parties do not dispute that Plaintiff has a physical

impairment. They do dispute, however, whether Plaintiff has proffered sufficient,

competent evidence that would prove that she is substantially limited in a major life

activity.

        Plaintiff appears to argue that she is substantially limited in the major life

activities of lifting and working. The court will address both contentions.


         3 Since the institution of this action, the ADA Amendments Act of 2008,
Pub.L.No. 110-325, 122 Stat. 355 (2008) was passed. The amendments include notable
changes to the definition of the term "disability" and reject the holdings in several
Supreme Court decisions and portions of Equal Employment Opportunity Commission's
ADA regulations. The ADA Amendments Act of2008 did not, however, specifY
whether it was to apply retroactively. Relying upon the Supreme Court's decision in
Landgrafv. USI Film Products, 511 U.S. 244, 280 (1994), wherein the Supreme Court
stated there is a "well-settled presumption" against giving retroactive effect to any law
that "would impair right a party possessed when he acted, increase a party's liability for
past conduct, or impose new duties with respect to transactions already completed" id. at
277, 280, several jurisdictions have declined to apply the amendments retroactively. See
E.E.o.C v. Argo Distribution, L.L.C, 555 F.3d 462, 469 n. 8 (5th Cir. 2009); Milholland
v. Sumner County Bd. ofEduc., 569 F.3d 562,566-67 (6th Cir. 2009); Kiesewetter v.
Caterpillar, Inc., 295 Fed. Appx. 850, 851 (7th Cir. 2008); Barnes v. GE Sec., Inc., 2009
WL 1974770, at *1 (9th Cir. June 18,2009) (slip opinion); Fikes v. Waf-Mart, Inc., 2009
WL 961774, at *1 n. 1 (11th Cir. Apr.lO, 2009) (slip opinion); Lytes v. DC Water &
Sewer Authority, 572 F.3d 936, 940-42 (D.C. Cir. 2009). This court agrees with the
various Circuit Courts of Appeal which have considered the issue, and therefore will
apply the ADA and the interpretations thereof that were in force when the acts that gave
rise to this suit happened.

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        1. Major life activity of "lifting"

        Under Fourth Circuit law predating the ADA Amendments Act of 2008, the

Fourth Circuit's decisions regarding lifting were not entirely clear. The Court suggested

that lifting, alone, could be considered a major life activity for purposes of the ADA in

Williams v. Channel Master Satellite Systems, 101 F.3d 346 (4th Cir. 1996), abrogated

on other grounds by Baird ex rei. Baird v. Rose, 192 F.3d 462, 470 (4th Cir. 1999), by

stating that the district court erred in failing to even address the plaintiff s asserted lifting

limitation. Id. at 349. It then went on to hold, however, "as a matter oflaw, that a

twenty-five pound lifting limitation-particularly when compared to an average person's

abilities-does not constitute a significant restriction on one's ability to lift, work, or

perform any other major life activity." Id. (citing Aucutt v. Six Flags Over Mid-America,

85 F.3d Ill, 1319 (8th Cir. 1996». This holding, however, has been called into doubt by

the Supreme Court's "admonition" in Toyota Motor Manufacturing, Kentucky, Inc. v.

Williams, 534 U.S. 184, 200 (2002), that disabilities are to be determined on a case-by­

case basis.

        Consequently, even if "lifting" could be considered a "major life activity" under

the former version of the ADA, a court still must assess, on a case-by-case basis, whether

a particular plaintiffs limitation on lifting constitutes a disability. See Sutton v. United

Air Lines, Inc., 527 U.S. 471, 488 (l999)(explaining that whether a person is disabled

under the ADA must be determined on an individual basis). In embarking on this case­

specific exercise, a court may reference the non-controlling interpretive regulatory

guidelines. Those guidelines provide that the term "substantially limits" means: "(i)

[u]nable to perform a major life activity that the average person in the general population

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can perform; or (ii) [s]ignficantly restricted as to the condition, manner or duration under

which an individual can perform a particular major life activity as compared to the

condition, manner, or duration under which the average person in the general population

can perform that same activity." 29 C.F.R. § 1630.2(j)(1). Factors to be considered in

evaluating whether someone is substantially limited in a major life activity also include

the nature, severity, and long term impact of an impairment. 29 C.F.R. § 1630.2(j)(2).

Moreover, the Supreme Court has required that a plaintiff demonstrate that the

impairment prevents or severely restricts the individual from doing tasks that are central

to daily life. Toyota Manufacturing, 534 U.S. at 197(holding that to be substantially

limited in performing manual tasks, an individual must have an impairment that prevents

or severely restricts the individual from doing activities that are of central importance to

most people's daily lives). Rather than just submitting evidence of a diagnosis of an

impairment, a plaintiff must instead offer "evidence that the extent of the limitation

[caused by their impairment] in terms of their own experience ... is substantial." Id.

(quoting Albertson's, Inc. v. Kirkingburg, 527 U.S. 55, 567 (l999))(alterations in

original).

        In this case, Plaintiff suggests that her lifetime restriction on lifting no more than

20 pounds, combined with her lifetime restriction on any overhead lifting, substantially

limits her in the major life activity of "lifting." Specifically, in her memorandum in

opposition to QVCRM's motion for summary judgment, Plaintiff states that her

restrictions "make[] household tasks difficult." PI.' s Mem. in Opp. to Def.' s Mot. for

Summ.1. [DE-30] at p. 5. Plaintiff has not, however, introduced any evidence that would

allow a jury to reach that conclusion. There is no evidence that explains the limitations

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that Plaintiff faces in her day-to-day life, nor is their a basis to compare Plaintiff s

limitations with that of the rest of the general population. Consequently, to the extent

that Plaintiff contends that she is disabled under the ADA because she is substantially

limited in the major life activity of "lifting", her argument fails for lack of evidence.

        2. Major life activity of "working"

        Plaintiff also contends that her restrictions on lifting substantially limits the major

life activity of working for her. The Supreme Court has explained:

       To be substantially limited in the major life activity of working, then, one
       must be precluded from more than one type ofjob, a specialized job, or a
       particular job of choice. If jobs utilizing an individual's skills (but
       perhaps not his or her unique talents) are available, one is not precluded
       from a substantial class ofjobs. Similarly, if a host of different types of
       jobs are available, one is not precluded from a broad range of jobs.

Sutton, 527 U.S. at 492. A "class of jobs" is the job from which a claimant was

disqualified, as well as all other jobs utilizing similar training, knowledge and skills

within "the geographical area to which the [claimant] has reasonable access." 29 C.F.R. §

1630.2(j)(3)(ii)(A)-(B). A "broad range of jobs," in contrast, is the job from which a

claimant was disqualified, as well as all other jobs utilizing similar training, knowledge

and kills within "the geographical area to which the [claimant] has reasonable access." 29

C.F.R. § 1630.2(J)(3)(ii)(A)-(C). In determining whether one is precluded from class of

jobs or broad range of jobs, courts may consider such factors as: (1) the nature of the

impairment, (2) the expected duration of the impairment, (3) the permanent or long term

impact of the impairment, and (4) the number and types of both similar and dissimilar

jobs in the same area from the person would be excluded by his impairment. 29 C.F .R. §

1630.2(j)(2) & (3).


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       In this case, Plaintiff avers in an affidavit:

       In the general geographic area to which I have reasonable access, within
       about 40 miles, the major employers that offer jobs of the type that I was
       performing are McClane's, Williams Foods, Meadowbrook Meat Co.,
       Purdue Pharmaceuticals, Hosperia, a medical supplies manufacturer and
       distributor, Honeywell, Consolidated Diesel, Carlyle's Plastic and
       Anheuser-Busch. The majority ofjobs available at these companies
       which match my training, skills, and abilities are primarily jobs of the line
       variety, combination duty jobs that require packaging and running
       machines, all requiring lifting in excess of what my lifetime restrictions
       are.

Alexander Aff. [DE-30-3] ~ 4. Plaintiff also references her deposition testimony,

wherein she testified (1) that she visited the local unemployment office twice, and they

had no work for her; (2) that her friend told her she would be unable to perform a job at a

local motel because of her lifting restrictions, and (3) that she inquired about ajob at

Piggly Wiggly, but was told the only available position was for stock person, which

would implicate her lifting restrictions. Alexander Dep. [DE-27-5] pp. 9-16. Plaintiff

contends this is sufficient evidence to show she was excluded from a broad range ofjobs

or a class ofjobs.

       The court does not agree. Plaintiffs affidavit, although naming some specific

potential employers in the geographic region, otherwise asserts in a conclusory fashion

that she is excluded from "the majority of the jobs available at these companies." There

is no description of any of the particular available positions at these companies, let alone

what the job requirements are for such positions. There is no reference to the other jobs

available in the geographical region that are found at other employers not listed by

Plaintiff-or ofjobs that may not be "of the type" that Plaintiff was performing, but still

would be available to her on the basis of her skills, education, and experience. Even


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more disconcerting, there is no indication as to how this information came to be within

Plaintiffs "personal knowledge;" this omission is particularly troubling considering that

Plaintiffs deposition testimony did not suggest that Plaintiff had engaged in an

exhaustive job search. Alexander Dep. [DE-27-5] pp. 9-16. Such conclusory and

incomplete testimony would do little to aid a jury in determining whether Plaintiff is

excluded from either a class ofjobs or a broad range ofjobs. See, e.g., Lilly v. Mastec

North America, Inc., 302 F.Supp.2d 471, 479 (M.D.N.C. 2004)(explaining that for a

vocational expert's testimony to be useful, it would have "to define the geographic area []

considered, set out the number, types and classes ofjobs available in that area, testify as

to which of those jobs plaintiff was excluded from based on his limitations, and explain

the basis for his testimony in that regard'). See also Duncan v. Washington Met. Area

Trans. Auth., 240 F.3d 1110, 1116 (concluding that a plaintiffs anecdotal evidence about

his inability to find work after his discharge, combined with evidence of his age, limited

skills, education, and experience, provided insufficient evidence as to whether "the total

number of such jobs that remain available to the plaintiff in such a class or range in the

relevant market [is] sufficiently low"). To be sure, a plaintiffs burden in proving this

element of her case is not meant to be onerous; that does not mean, however, that a

plaintiff may assert, with little factual detail or support, that she is excluded from a

majority of jobs at certain named employers and survive summary judgment.

        Accordingly, because Plaintiff has failed to proffer sufficient probative evidence

showing she is disabled within the meaning of the ADA, QVCRM's motion for summary




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judgment is ALLOWED as to her claims under that statute.4

C. FMLA Claim

        Plaintiff, now represented by counsel, contends that she has presented sufficient

evidence to create a genuine issue of material fact about whether she was terminated

either as a substantive violation of the FMLA or in retaliation for requesting leaves of

absence for dealing with her cancer, her cancer-related depression, and other medication

conditions.

        Under the FMLA, an employee is entitled to a total of twelve workweeks' leave

during any twelve-month period because of a serious health condition that makes the

employee unable to perform her job. 29 U.S.C. § 26 I2(a)(l)(D). The FMLA makes it

unlawful for an employer "to interfere with, restrain, or deny the exercise of or the

attempt to exercise, any right" provided under the Act, or to discriminate against any

employee for asserting rights under the Act. 29 U.S.C. § 2615(a). Plaintiff sets forth the

theory of her FMLA claim as follows: "Only when the Defendant was asked to allow Ms.

Alexander periodic leave for medical reasons, for intermittent medical attention for her

depression related to her breast cancer and other conditions, was QVC then prompted to

ask anew about her limitations and duration of her physical limitations." Mem. in Opp.

Atpp.9.

        A review of the Complaint reveals that Plaintiff makes no mention of the FMLA,


       4   Plaintiff also asserts, in her response in opposition to the motion for summary
judgment, that her cancer and related depression are disabilities under the ADA. She
appears to argue that the cancer and related depression substantially limited her in the life
activity of work. Pl.'s Mem. in Opp. to Def.'s Mot. for Summ. 1. [DE-30] at p. 8.
Plaintiff did not introduce any evidence, however, showing that her cancer and/or
depression excluded her from a class ofjobs or a broad range of jobs.

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and when prompted to specify the basis of the QVCRM's discriminatory conduct, she

answered: "discrimination against my sickness or disability which didn't enhance [sic]

me from working as my Dr. stated." Comp!. [DE-I] at p. 3. Even if the court assumes,

for purposes of this motion, that Plaintiffs complaint put QVCRM on notice of a claim

under the FMLA, the theory she sets forth in support of that claim is not supported by the

facts.

         QVCRM did not ask "anew" about her restrictions after she applied for

intermittent leave under the FMLA in March 2007. Plaintiffs own evidence establishes

that she visited her doctor's office in April 2007 because of back pain, and her treating

doctor's office provided Plaintiff with a note regarding her lifting restrictions in April

2007 as a "precautionary measure" and not in response to any inquiries from QVCRM.

Alexander Dep. [DE-27-6] pp. 52-53; Chesnutt Dec!. [DE-30-2] ,-r 8. There is no

indication in the record that QVCRM inquired about Plaintiffs restrictions until after it

received a notice from her plastic surgeon stating that she had no restrictions. This does

not align with Plaintiff s stated theory of her alleged FMLA claim.

         Consequently, QVCRM's motion for summary judgment is ALLOWED as to any

claim under the FMLA asserted by Plaintiff.

                                    IV. CONCLUSION

         For the reasons set forth above Defendant's motion for summary judgment [DE­

26] is ALLOWED. The Clerk is directed to close the case.
                       ~
         This, the ~ day of December, 2009.


                                               J     es C. Fox
                                                   enior United States District Judge

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